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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


 IN RE:                                        :   CHAPTER 13
 DONALD LEE DENNIS                             :   CASE NUMBER A16-51842-CRM
       DEBTOR                                  :

                     TRUSTEE’S SUPPLEMENTAL REPORT
                    FOLLOWING CONFIRMATION HEARING

        Nancy J. Whaley, Standing Chapter 13 Trustee to report back in ten (10)
        days following the Confirmation Hearing held on July 12, 2016:

        As to whether Debtor paid $960.00 to the Trustee

        As to whether Debtor filed amended schedules

        The Attorney for the Trustee has reviewed the case as instructed and:

        Recommends dismissal because:

        Debtor failed to file amended schedules

        Please enter an Order of Dismissal

        This the 2nd day of September, 2016.

                              ___/s/_________________________
                              Julie M. Anania,
                              Attorney for Chapter 13 Trustee
                              GA Bar Number 477064
                              303 Peachtree Center Ave., NE
                              Suite 120
                              Atlanta, GA 30303
 /mam                         (678) 992-1201
 Case 16-51842-crm         Doc 32   Filed 09/02/16 Entered 09/02/16 08:03:12              Desc
                                          Page 2 of 2
                                 CERTIFICATE OF SERVICE
Case No: A16-51842-CRM

This is to certify that I have this day served the following with a copy of the foregoing Chapter 13
Trustee's Supplemental Report Following Confirmation Hearing by depositing in the United
States mail a copy of same in a properly addressed envelope with adequate postage thereon.

Debtor(s):
DONALD LEE DENNIS
2900 LAND RUN DRIVE #184
ATLANTA, GA 30311




By Consent of the parties, the following have received an electronic copy of the foregoing
Chapter 13 Trustee's Supplemental Report Following Confirmation Hearing through the
Court's Electronic Case Filing system.

Attorney for the Debtor(s):
THE SEMRAD LAW FIRM, LLC
rjsatlcourtdocs@gmail.com




This the 2nd day of September, 2016.


/s/____________________________________
  Julie M. Anania
  Attorney for the Chapter 13 Trustee
  State Bar No. 477064
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
